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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 HOLLY MAGALENGO on behalf of her                     :
 daughter, A.M., a minor,                             : Civil Action No. 2:25-cv-00325
                          Plaintiff                   :
                                                      :
                 v.                                   :
                                                      :
 UNITED STATES DEPARTMENT OF                          :
 EDUCATION, PENNSYLVANIA                              :
 INTERSCHOLASTIC, INC., QUAKERTOWN                    :
 COMMUNITY SCHOOL DISTRICT, and                       :
 COLONIAL SCHOOL DISTRICT,                            :
                    Defendants                        :


                               CERTIFICATE OF SERVICE

        I, Michele Mintz, Esquire, hereby certify that, on this date, I caused the foregoing document

to be served electronically through ECF:

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                                      By:

Dated: March 3, 2025




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